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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
GEOVANNE COLON,                     )
                                    )
            Plaintiff,              )
                                    )
                                    )   Civil Action No. 23-CV-12322-AK
v.                                  )
                                    )
JEREMY TUCKER,                      )
                                    )
            Defendant.              )
                                    )

                      MEMORANDUM AND ORDER ON
             GEOVANNE COLON’S MOTION FOR DEFAULT JUDGMENT

ANGEL KELLEY, D.J.

       On October 9, 2023, Plaintiff Geovanne Colon filed the instant suit against Defendant

Jeremy Tucker, claiming breach of contract. For the following reasons, Mr. Colon’s Motion for

Default Judgment [Dkt. 25] is GRANTED IN PART.

I.     BACKGROUND

       Mr. Colon alleged that in exchange for $100,000, which Mr. Tucker could use to invest,

Mr. Colon would receive $5,500 every 39 days from Mr. Tucker until the parties mutually

agreed to terminate the contract. As evidence of this agreement, Mr. Colon provided a signed

Commercial Promissory Note, dated July 12, 2019. Of note, the signed agreement simply stated

that Mr. Colon would provide $100,000 in exchange for $5,500 of interest.

       Despite some late payments, Mr. Colon received eight payments in accordance with the

agreement, totally $44,000, before Mr. Tucker ceased communication and stopped any payment,

leading to the filing of the instant suit. Following filing and proper service, Mr. Tucker failed to

make an appearance or respond to the allegations. The Court granted a Motion for Entry of



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Default on May 3, 2024 [Dkt. 8], and subsequently held a hearing on Mr. Colon’s Motion for

Default Judgment [Dkts. 12, 21]. At this hearing, for which Mr. Tucker failed to appear, the

Court determined that Mr. Colon had provided insufficient documentation to justify his damages

calculation and thus directed Mr. Colon to file an updated Motion for Default Judgment with

additional documentation, which was done on February 24, 2025. [Dkt. 25]. Mr. Tucker again

failed to respond.

       A second hearing was held on April 9, 2025, which Mr. Tucker did not attend, after

which the Court took the matter under advisement.

II.    DISCUSSION

       While there is insufficient evidence to support Mr. Colon’s damages calculation, the

Court does find that sufficient evidence was provided justifying an award of damages. As

explained above and confirmed with bank statements, Mr. Colon provided Mr. Tucker $100,000

and received $44,000 in return. Thus, the Court first finds that Mr. Colon should be made whole

for his initial investment, resulting in a damages award of $56,000. From there, the Court finds

it appropriate to recognize Mr. Colon’s lost opportunity to otherwise invest the funds, or the

opportunity cost of the investment. Based on the contract and statements provided to the Court,

it is appropriate to award Mr. Colon $5,500 per annum, from the date of the contract, July 19,

2019, to the date of this Order, April 15, 2025, totaling $31,613.70. In addition to the original

$56,000, the damages total $87,613.70.

       The Court also finds it appropriate to grant the requested attorney’s fees of $5,000,

resulting in a total judgment of $92,613.70, with no prejudgment interest. The total judgment

shall be subject to post-judgment interest at the rate set by 28 U.S.C. § 1961.




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III.   CONCLUSION

       For the foregoing reasons, Mr. Colon’s Motion for Default Judgment [Dkt. 25] is

GRANTED IN PART.

       SO ORDERED.

Dated: April 15, 2025                                     /s/ Angel Kelley
                                                          Hon. Angel Kelley
                                                          United States District Judge




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